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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                   LUBBOCK DIVISION

FIRST BANK & TRUST,                            §
                                               §
               Plaintiff,                      §
v.                                             §
                                               §
REAGOR AUTO MALL, LTD. d/b/a                   §
REAGOR-DYKES OF LEVELLAND,                     §          CAUSE NO. 5:18-cv-00234-C
and d/b/a REAGOR-DYKES IMPORTS,                §
FIRSTCAPITAL BANK OF TEXAS,                    §
N.A., BART REAGOR, RICK DYKES,                 §
SHANE SMITH, SHEILA MILLER,                    §
BRAD D. BURGESS, and KENNETH L.                §
BURGESS,                                       §
                                               §
               Defendants.                     §



             DEFENDANT FIRSTCAPITAL BANK OF TEXAS, N.A.’S
        MOTION TO DISMISS PLAINTIFF’S SECOND AMENDED COMPLAINT

        The Defendant, FirstCapital Bank of Texas, N.A. (“FirstCapital”) files this Motion to

Dismiss Plaintiff’s Second Amended Complaint (“Motion”) pursuant to Rule 12(b)(6) of the

Federal Rules of Civil Procedure for the reason that Plaintiff First Bank & Trust has failed to

state a claim upon which relief can be granted. Contemporaneous with the filing of the Motion,

Defendant FirstCapital also filed its brief in support.

        WHEREFORE, Defendant FirstCapital Bank of Texas, N.A. requests the Court to

dismiss Plaintiff First Bank & Trust’s Second Amended Complaint and for other relief as the

Court finds just and equitable.
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                                                   Respectfully submitted,

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                                     CERTIFICATE OF SERVICE

        I hereby certify that on November 13, 2018, I electronically filed the foregoing document
with the clerk of court using the electronic filing system. The electronic filing system will send a
“Notice of Electronic Filing” to the following attorney(s) of record who have consented in
writing to accept this Notice as service of this document by electronic means:

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